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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                            Case No. 15-52104-mbm

 Janet Elyse Bell                                  Chapter 13

 Debtor.                                           Judge Marci B. McIvor

                                     PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Response to Notice of Final Cure
Payment has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on September 11, 2019 to the following:

          Janet Elyse, Debtor
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          Detroit, MI 48219

          Ryan Moran, Debtor’s Counsel
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          David Wm Ruskin, Chapter 13 Trustee
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          United States Trustee’s Office
          (registeredaddress)@usdoj.gov

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
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